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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


Civil Action No. 1:24-cv-01293-MEH

 Jacob Root,

          Plaintiff,

 v.

 Robert Comstock in his individual capacity; and
 City of Colorado Springs, Colorado,


          Defendants.



                               SCHEDULING ORDER


          1. DATE OF CONFERENCE AND APPEARANCES OF COUNSEL

      The Scheduling Conference in this case is set for August 6, 2024, at 10:15 am in

Courtroom A-501. The parties will be represented in this case as follows:

For Plaintiff:

Harry M. Daniels , Jr
Law Offices of Harry M. Daniels, LLC
4751 Best Road
Suite 490
Atlanta, GA 30337
678-664-8529
Email: daniels@harrymdaniels.com
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Tyler A. Jolly
Jolly Law PLLC
9996 West US Highway 50
Suite 1090
Salida, CO 81201
719-429-7359
Email: tyler@jollylawcolorado.com

For Defendant:

Brian Stewart
Colorado Springs City Attorney's Office
30 South Nevada Avenue
Suite 501
Colorado Springs, CO 80903
719-385-5909
Email: Brian.Stewart@coloradosprings.gov

                        2. STATEMENT OF JURISDICTION

    This action arises under the Constitution and laws of the United States and is

brought pursuant to Title 42 U.S.C. § 1983. Jurisdiction is conferred on this Court

pursuant to 28 U.S.C. §1331. Jurisdiction supporting Plaintiff’s claims for attorney

fees and costs is conferred by 42 U.S.C. §1988.       Jurisdiction     for   Plaintiff’s

supplemental state law claims, brought under Colorado state law, including the

Colorado Enhance Law Enforcement Integrity Act, C.R.S § 13-21-131 et. seq. is

conferred by 28 U.S.C § 1367.

                  3. STATEMENT OF CLAIMS AND DEFENSES

                                 Plaintiff’s Claims

   1. 42 U.S.C. § 1983 – Excessive Force in violation of the Fourth Amendment;
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   2. Colo. Rev. Stat. § 13-21-131 Colorado Constitution Article II, Section 7 –

      Excessive Force/Unlawful Use of Force;

   3. 42 U.S.C. § 1983 – Customs, Policies, Practices, and Ratification Against

      Defendant City of Colorado Springs


                               Defendants’ Defenses

      Plaintiff has failed to state a claim upon which relief can be granted. This is

because on May 16, 2022, Plaintiff did not suffer a violation of any right guaranteed

by the United States Constitution or the Colorado Constitution. Indeed, it was

entirely reasonable for Officer Comstock to deploy his taser to stop Plaintiff, a

fleeing felony suspect, who had already rammed a marked police cruiser with a

stolen car to evade police, who was fleeing directly toward a six-laned road, and who

had ignored multiple warnings and orders to stop running. At all pertinent times,

Officer Comstock acted in good faith and violated no clearly established

constitutional right. He is therefore entitled to qualified immunity against any 42

U.S.C. § 1983 claim. Officer Comstock’s conduct was not malicious, outrageous, or

extreme. Neither was his conduct motivated by an evil motive or intent. Neither was

he recklessly or callously indifferent to Plaintiff’s rights. Officer Comstock’s

conduct was, at all pertinent times, objectively reasonable.

      Like Officer Comstock, the City of Colorado Springs (“City”) did not violate

Plaintiff’s constitutional rights. The City does not maintain a policy or custom that
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condones a violation of any person’s constitutional rights. Furthermore, no City

policy, custom, or practice caused Plaintiff’s alleged injuries. This is in part because

the City properly trains its officers on the constitutional limits on the use of force,

including tasers. As such, the City was not deliberately indifferent to a known or

obvious deficiency in its training program. Plaintiff’s claim against the City should

be dismissed.

      Plaintiff may have failed to mitigate his damages, and some of his alleged

injuries and damages, if any, may have existed before, or been sustained after the

incident complained of. Finally, Because Plaintiff’s alleged damages were sustained

during the commission of or the immediate flight from felony crimes, his state law

claim must be dismissed and Defendants awarded their fees and cost in this matter.

See Colo. Rev. Stat. Ann. § 13-80-119 (West 2003).


   4. UNDISPUTED FACTS THE FOLLOWING FACTS ARE UNDISPUTED:



                          5. COMPUTATION OF DAMAGE

      Plaintiff is still treating for brain injury and has not determine full damages.

      Defendants: Defendants objects to Plaintiff’s proposed language above as it

does not comply with Fed. R. Civ. P. 26(a)(1)(A)(iii) which requires a computation

of all categories of damages sought and the basis and theory for calculating

damages. Defendants are not currently seeking damages in this matter. However,
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Defendants reserve the right to request any costs and fees that they may be entitled

to under the law.




   6. REPORT OF PRECONFERENCE DISCOVERY AND MEETING UNDER
                        FED. R. CIV. P. 26(f)

   a. Date of Rule 26(f) meeting.

      July 22, 2024, at 3.00 p.m.

   b. Names of each participant and party he/she represented.

      Harry M. Daniels, Jr and Tyler A. Jolly for the Plaintiff;

      Brian Stewart for the Defendant

   c. Statement as to when Rule 26(a)(1) disclosures were made or will be made.

      All party's disclosures will be made 14 days after final schedule order.

   d. Proposed changes, if any, in timing or requirement of disclosures under Fed.

      R. Civ. P. 26(a)(1).


      None

   e. Statement concerning any agreements to conduct informal discovery:

      N/A

   f. Statement concerning any other agreements or procedures to reduce discovery

      and other litigation costs, including the use of a unified exhibit numbering

      system:
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      N/A


   g. Statement as to whether the parties anticipate that their claims or defenses will

      involve extensive electronically stored information, or that a substantial

      amount of disclosure or discovery will involve information or records

      maintained in electronic form.

      Parties believe that discovery will involve information or records

      maintained in electronic form. Parties agree to preserve all information

      or records maintained in electronic form.


   h. Statement summarizing the parties' discussions regarding the possibilities for

      promptly settling or resolving the case.


      Parties have not agreed to mediate at this point

                                     7. CONSENT

   Parties do not consent to have magistrate judges in the District of Colorado to

preside over the case.

                         8. DISCOVERY LIMITATIONS

    a. Modifications which any party proposes to the presumptive numbers of

       depositions or interrogatories contained in the Federal Rules.

    The parties do not propose exceeding the presumptive number of

depositions and interrogatories.
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   b. Limitations which any party proposes on the length of depositions.

A deposition is limited to 1 day of 7 hours per deponent.

   c. Limitations which any party proposes on the number of requests for
      production and/or requests for admission.

Parties agree 25 requests for production and 25 requests for admission per
side.

   d. Deadline for Interrogatories, Requests for Production of Documents and/or
      Admissions:

         All interrogatories, Requests for Production of Documents, and/or

      Requests for Admisssion must be served no later than: 45 days prior to

      the discovery cut-off.

                           9. CASE PLAN AND SCHEDULE

   a. Deadline to join parties.

      September 30, 2024

   b. Discovery Cut-off.

      Eight Months after Final Scheduling Order

   c. Dispositive Motion Deadline.

      30 days after the close of discovery

   d. Expert Witness Disclosure.

         1. The parties shall identify anticipated fields of expert testimony, if any.

         Defendants: Defendants anticipate retaining experts to offer opinions

         related to police officer training, use of force, and the use of tasers.
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        Defendants may also call an engineer or other expert to offer evidence

        about the location of the incident. Defendants also anticipate retaining

        medical experts to offer an opinion on Plaintiff’s injuries and care.

        Finally, Defendants may call an expert to opine on the costs of Plaintiffs

        future medical care. Defendants reserve the right to endorse experts in

        other areas if needed and to call any expert endorsed by Plaintiff.


        2. Limitations which the parties propose on the use or number of expert
           witnesses.

           5 Experts

        3. The parties shall designate all affirmative experts and provide opposing

           counsel and any pro se parties with all information specified in Fed. R.

           Civ. P. 26(a)(2) on or before March 31, 2025. [This includes disclosure

           of information applicable to "Witnesses Who Must Provide A Written

           Report" under Rule 26(a)(2)(B) and information applicable to

           "Witnesses Who Do Not Provide a Written Report" under Rule

           26(a)(2)(C).]

              1. Defendants: 60 days before the close of discovery.

        4. The parties shall designate all rebuttal experts and provide opposing

           counsel and any pro se party with all information specified in Fed. R.

           Civ. P. 26(a)(2) on or before May 15, 2025.
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                 1. Defendants: 30 days before the close of discovery.


   e. Identification of Persons to Be Deposed:

 Name of Deponent              Date of Deposition   Time of Deposition     Expected Length of

                                                                           Deposition

 Plaintiff Jacob Root          TBA                  TBA                    7 hours

 Defendant Robert Comstock TBA                      TBA                    7 hours


 Other individuals disclosed   TBA                  TBA                    TBD

 pursuant to Fed.R.Civ.P.26




                    10. DATES FOR FURTHER CONFERENCES

[The magistrate judge will complete this section at the scheduling conference if he
or she has not already set deadlines by an order filed before the conference.]

   1. Status conferences will be held in this case at the following dates and times:
   2. A final pretrial conference will be held in this case on __________ at
      o'clock _ m. A Final Pretrial Order shall be prepared by the parties and
      submitted to the court no later than five (5) days before the final pretrial
      conference.

11. OTHER SCHEDULING MATTERS

          a. Identify those discovery or scheduling issues, if any, on which counsel

             after a good faith effort, were unable to reach an agreement.
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       Defendants: Defendants anticipate filing a motion to stay discovery in

       this case, which may affect scheduling and discovery issues.


          b. Anticipated length of trial and whether trial is to the court or jury.

       Three Days

       Defendants: Ten (10) days to a jury




                12. NOTICE TO COUNSEL AND PRO SE PARTIES


Motions for extension of time or continuances must comply with D.C.COLO.LCivR

6.1, by containing proof that a copy of the motion has been served upon the moving

attorney's client, all attorneys of record. and all pro se parties.

Counsel will be expected to be familiar and to comply with the Pretrial and Trial

Procedures or Practice Standards established by the judicial officer presiding over

the trial of this case.

With respect to discovery disputes, parties must comply with D.C.COLO.LCivR

7.1(a).

In addition to filing an appropriate notice with the clerk's office, a prose party must

file a copy of a notice of change of his or her address or telephone number with the

clerk of the magistrate judge assigned to this case. In addition to filing an appropriate
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notice with the clerk's office, counsel must file a copy of any motion for withdrawal,

motion for substitution of counsel, or notice of change of counsel's address or

telephone number with the clerk of the magistrate judge assigned to this case.

                13. AMENDMENTS TO SCHEDULING ORDER

The scheduling order may be altered or amended only upon a showing of good
cause.




DATED this __________ day of __________, 20_____.
BY THE COURT:

                                              _____________________________
                                              United States Magistrate Judge
